                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


UNITED STATES OF AMERICA,

            Plaintiff,                                   Case No. 1:20−mj−416

    vs.                                                  Hon. Sally J. Berens

ADAM FOX,
TY GARBIN,
KALEB FRANKS,
DANIEL HARRIS,
BRANDON CASERTA,

            Defendants.
                                          /


                         ORDER SCHEDULING PROGRESSION OF CASE


Take notice that a proceeding in this case has been set as indicated below:

                          Detention Hearing
Type of hearing(s):       Preliminary Hearing
                          (Note: Arraignment/initial pretrial conference will replace preliminary hearing if
                          defendant is indicted.)
Date/Time:                October 13, 2020 09:30 AM
Judge:                    Sally J. Berens
Place/Location:           699 Federal Building, Grand Rapids, MI

Detention

Defendant is temporarily detained, pending a detention hearing as scheduled above.
Pending this hearing, the defendant shall be held in custody by the United States marshal
and produced for the hearing.

Proceedings After Indictment:

Preparation and E−filing of Initial Pretrial Conference Summary Statement

The parties shall each e−file an Initial Pretrial Conference Summary Statement no later
than 3:00 p.m. the business day prior to the initial pretrial conference hearing. See
the court's standard Initial Pretrial Conference Summary Statement forms, which are
available at www.miwd.uscourts.gov under Forms/Criminal Forms.

Filing of Rule 12(b) Motions

All motions shall be filed within twenty−one (21) days from the date of the initial pretrial
conference of the defendant, unless otherwise ordered.
Initial Discovery

The provisions of the court's Standing Order Regarding Discovery in Criminal Cases
(Administrative Order 20−RL−066) shall apply to the parties named above. The Standing
Order is available on the court's website at www.miwd.uscourts.gov, under Rules, Orders &
Policies/Administrative Orders. Sanctions may be imposed for failure to follow the court's
Standing Order Regarding Discovery in Criminal Cases.

IT IS SO ORDERED.


Dated: October 8, 2020                     /s/ Sally J. Berens
                                           UNITED STATES MAGISTRATE JUDGE
